         Case 1:20-cv-07400-KPF Document 7 Filed 10/06/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RAMON JAQUEZ,

                           Plaintiff,
                                                     20 Civ. 7400 (KPF)
                    -v.-
                                               ORDER OF DISCONTINUANCE
THE GLIK COMPANY,

                           Defendant.

KATHERINE POLK FAILLA, District Judge:

      By letter dated October 5, 2020, the parties reported to the Court that

they have reached a settlement in this case as to the individual Plaintiff’s

claims. Accordingly, it is hereby:

      ORDERED that this action be conditionally discontinued without

prejudice and without costs; provided, however, that within sixty (60) days of

the date of this Order, the parties may submit to the Court their own

Stipulation of Settlement and Dismissal for the Court to So Order. Otherwise,

within such time Plaintiff may apply by letter for restoration of the action to the

active calendar of this Court in the event that the settlement is not

consummated. Upon such application for reinstatement, the parties shall

continue to be subject to the Court’s jurisdiction, the Court shall promptly

reinstate the action to its active docket, and the parties shall be directed to

appear before the Court, without the necessity of additional process, on a date

within ten (10) days of the application, to schedule remaining pretrial

proceedings and/or dispositive motions, as appropriate. This Order shall be

deemed a final discontinuance of the action with prejudice in the event that
        Case 1:20-cv-07400-KPF Document 7 Filed 10/06/20 Page 2 of 2




Plaintiff has not requested restoration of the case to the active calendar within

such 60-day period.

      The Clerk of Court is directed to terminate all pending motions, adjourn

all remaining dates, and close this case.

      SO ORDERED.

Dated: October 6, 2020
       New York, New York

                                              KATHERINE POLK FAILLA
                                             United States District Judge




                                        2
